                          IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,                 §
                                                     §
            Plaintiffs,                              §
                                                     §                Case No. 5:21-cv-844-XR
 v.                                                  §                      [Lead case]
                                                     §
 GREG ABBOTT, et al.,                                §
                                                     §
            Defendants.                              §


              STATE DEFENDANTS’ DESIGNATION OF REBUTTAL EXPERTS

           Pursuant to the Court’s Scheduling Order, see ECF 125, and subsequent scheduling-order

amendments, see ECF 161, 214, 307, and Text Order of 03/07/2022, the State Defendants file their

designation of rebuttal experts

                                DESIGNATION OF TESTIFYING EXPERTS

      1.        Professor Mark Hoekstra. Professor Hoekstra is the Private Enterprise Research
                Center Rex B. Grey Associate Professor of Economics at Texas A&M University, a
                Research Fellow at Institute of Labor Economics, and a Research Associate at the
                National Bureau of Economic Research. Professor Hoekstra is expected to testify on the
                impact of SB1 on racial and ethnic minorities, the acceptance and rejection of mail-voting
                applications and mail ballots, and the conclusions reached in Drs. Hersh, McDaniel, and
                Grose’s expert reports prepared for Plaintiffs.

      2.        Professor Stephen Graves. Professor Graves is the Abraham J. Siegel Professor of
                Management and a Professor of Operations Management at the Massachusetts Institute
                of Technology Sloan School of Management. He holds a joint appointment with the MIT
                Department of Mechanical Engineering. Professor Graves is expected to testify on the
                impact of SB1 on the time it takes to vote and the conclusions reached in Dr. Mayer’s
                expert report prepared for Plaintiffs.

      Also pursuant to the Court’s Scheduling Order, the State Defendants will serve on all parties,

but not file, the materials required by Federal Rule of Civil Procedure 26(a)(2)(B).
Date: March 29, 2022                           Respectfully submitted.

KEN PAXTON                                     /s/ Patrick K. Sweeten
Attorney General of Texas                      PATRICK K. SWEETEN
                                               Deputy Attorney General for Special Litigation
BRENT WEBSTER                                  Tex. State Bar No. 00798537
First Assistant Attorney General
                                               WILLIAM T. THOMPSON
                                               Deputy Chief, Special Litigation Unit
                                               Tex. State Bar No. 24088531

                                               OFFICE OF THE ATTORNEY GENERAL
                                               P.O. Box 12548 (MC-009)
                                               Austin, Texas 78711-2548
                                               Tel.: (512) 463-2100
                                               Fax: (512) 457-4410
                                               patrick.sweeten@oag.texas.gov
                                               will.thompson@oag.texas.gov

                                               COUNSEL FOR STATE DEFENDANTS

                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on March 29, 2022, and that all counsel of record were served by CM/ECF.

                                               /s/ Patrick K. Sweeten
                                               PATRICK K. SWEETEN
